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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.0.3
                                 Eastern Division

Ashley Walls
                                      Plaintiff,
v.                                                        Case No.: 1:10−cv−02542
                                                          Honorable James B. Zagel
NCO Financial Systems, Inc.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, November 30, 2012:


       MINUTE entry before Honorable James B. Zagel:Case is hereby dismissed with
prejudice pursuant to stipulation, nunc pro tunc 3/1/2012. Civil case terminated. Mailed
notice(drw, )




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